        Case 2:21-cv-02223-LMA-DMD Document 19 Filed 04/13/22 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA


NARESSA COFIELD                                                        CIVIL ACTION

VERSUS                                                                      No. 21-2223

KIPP NEW ORLEANS, INC., ET AL.                                              SECTION I


                                        ORDER

         Considering plaintiff Naressa Cofield’s unopposed motion 1 for leave to file her

first amended complaint,

         IT IS ORDERED that the motion is GRANTED. Plaintiff’s first amended

complaint shall be filed into the record.

         New Orleans, Louisiana, April 13, 2022.



                                             _______________________________________
                                                       LANCE M. AFRICK
                                             UNITED STATES DISTRICT JUDGE




1   R. Doc. No. 17.
